 

Case 2:03-cv-00425-AJS Document 724 Filed 05/12/16 Page 1 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

IN RE: COMMUNITY BANK OF NORTHERN MDL NO. 1674
VIRGINIA MORTGAGE LENDING PRACTICES | Gasp NO, 03-0425, and

LITIGATION CASE NO. 05-0688

THIS DOCUMENT RELATES TO ALL ACTIONS | Hon. Arthur J. Schwab

ELECTRONICALLY FILED

 

 

 

 

STIPULATION OF PARTIES
TO FILE CONFIDENTIAL DISCOVERY MATERIALS UNDER SEAL

Pursuant to the September 26, 2012 Confidentiality Stipulation and Order (Doc. No. 587)
(the “Confidentiality Order”), Plaintiffs, on behalf of the General Class and each of the Sub-Classes,
and Defendant PNC Bank, National Association (collectively “the Parties”) AGREE and

STIPULATE as follows:

1. The Confidentiality Order entered by Judge Lancaster in this action provides that a
filing party using confidential discovery materials shall, prior to or contemporaneously with the
filing, seek leave, via stipulation or motion, to file any confidential discovery materials under seal.

2. Plaintiffs will file on May 13, 2016 Plaintiffs’ Memorandum in Opposition to
Motion of Defendant PNC Bank, National Association for Summary Judgment and Plaintiffs’
Memorandum in Opposition to Motion of Defendant PNC Bank, National Association to Decertify
Class with Plaintiffs’ Concise Statement of Additional Material Facts and an Appendix containing
certain confidential discovery materials (the “Confidential Items"). The Confidential Items consist
of charts summarizing data contained in or derived from the available loan files for the 26,000 plus

class members, the remaining named Plaintiffs’ loan files, deposition transcripts of the named

Plaintiffs, confidential state and federal regulatory materials, and various other documents produced

 

 
 

 

Case 2:03-cv-00425-AJS Document 724 Filed 05/12/16 Page 2 of 5

during the course of this litigation that were stamped confidential pursuant to the Confidentiality
Order. |

3. The Parties have concerns relating to the potential inadvertent disclosure of social
security numbers or other personally identifiable information set forth in the Plaintiffs’ loan files
and summaries. | In addition, Plaintiffs’ counsel is concerned with the potential inadvertent
disclosure of any personally identifying or other sensitive information that may have been discussed
or referred to in the deposition transcripts taken in this case, which are also included in the
Appendix. Therefore, at this juncture, the Parties have also agreed to include the named Plaintiffs’

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deposition transcripts in the Confidential Items to be filed under seal.|

4. The Parties also have concerns relating to certain confidential state and federal

regulatory materials, as well as various other confidential materials produced during the course of

this litigation, and for which the Parties are obligated to maintain confidentiality pursuant to the

Confidentiality Order.

5. This Honorable Court has the authority to permit parties to file such confidential and
personally sensitive information under seal for good cause shown pursuant to Federal Rule of Civil
Procedure 5.2(d) and the terms of the Confidentiality Order.

6. Furthermore, this Court's supervisory power over its own records and files allows
it such discretion to seal the record in appropriate circumstances. Nixon v. Warner
Communications, Inc., 435 U.S. 589, 598 (1978); Zurich American Ins. Co. v. Rite Aid Corp. 345
F.Supp.2d 497, 500 (E.D, Pa. 2004). See also Century Indem. Co. v Certain Underwriters at
Lloyd's London, 592 F.Supp.2d 825, 827 (E.D. Pa. 2009) (sealing judicial records is within the

sound discretion of the district court.)

 

' However, the Parties agree that non-confidential portions of the deposition transcripts may still be cited in the
Parties’ respective briefing without redaction.

 

 

 

 
 

 

 

Case 2:03-cv-00425-AJS . Document 724 Filed 05/12/16 Page 3 of 5

7. The factors to consider before restricting public access to documents include (1)
whether disclosure violates any privacy interests; (2) whether disclosure will cause a party
embarrassment; (3) whether the information is related to public health and safety; (4) whether
disclosure will promote “fairness and efficiency"; (5) whether the party benefitting from the
documents being sealed is a public entity or official; and (6) whether the case involves important
public issues. Century Indem., 592 F.Supp.2d at 827-828.

8. All these factors weigh in favor of permitting the Parties to file the Confidential
Items under seal in these proceedings. The Parties include private individuals who agree that the
requested relief is appropriate under the circumstances and would facilitate the ability to
appropriately litigate this matter. There is no legitimate public interest in such confidential and
sensitive personal information and such information does not affect public health or safety.
Furthermore, disclosure of the Confidential Items will not promote fairness or efficiency, nor
does this case involve any public issues which would be affected by non-disclosure.

9, A complete copy of the Plaintiffs’ Concise Statement of Additional Material Facts
and Appendix, including the Confidential Items, shall be provided to the Court, the Special
Master approved in this case and Defendant’s counsel.

10. The Parties respectfully seck permission for Plaintiffs to file the Confidential Items

under seal by electronically filing redacted slip sheets of the Confidential Items and by submitting

an unredacted PDF and paper versions to the Clerk's Office via US mail.
 

 

 

Case 2:03-cv-00425-AJS Document 724 Filed 05/12/16 Page 4 of 5

Dated: May 12, 2016

By: /s/ Joseph F. McDonough

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Case 2:03-cv-00425-AJS Document 724 Filed 05/12/16 Page 5of5

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the within Motion was served upon all

counsel of record by the Court’s ECF Filing System this 12" day of May, 2016.

/s/ R. Frederick Walters

 

 

 
